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                                    STATEMENT OF FACTS

        Your affiant,                     , is a special agent assigned to the Federal Bureau of
Investigation (“FBI”) Cincinnati Division, Athens Resident Agency. In my duties as a special
agent, I investigate violations of federal law, national security matters. Currently, I am tasked with
investigating individuals residing in southeast Ohio who were suspected of engaging in criminal
activity in and around the Capitol grounds on January 6, 2021. As a special agent, I am authorized
by law or by a Government agency to engage in or supervise the prevention, detection,
investigation, or prosecution of a violation of Federal criminal laws.
        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.
        On January 6, 2021, a joint session of the United States Congress convened at the U.S.
Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected
members of the United States House of Representatives and the United States Senate were meeting
in separate chambers of the United States Capitol to certify the vote count of the Electoral College
of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint session
began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and
Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike
Pence was present and presiding, first in the joint session, and then in the Senate chamber.
       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.
        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.
       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the U.S. Capitol from the time he was evacuated from the Senate
Chamber until the sessions resumed.
        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

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                IDENTIFICATION OF BENJAMIN HEFFELFINGER
       Open-source video and U.S. Capitol security cameras captured multiple images of
BENJAMIN HEFFELFINGER (“HEFFELFINGER”) of Somerset, Ohio, on the approach to the
Capitol, on Capitol grounds, and inside the Capitol building on January 6, 2021.




              Image 1: HEFFELFINGER on the approach to Capitol grounds.




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       I examined Image 4 from the Ohio Bureau of Motor Vehicles associated with
HEFFELFINGER, his date of birth, and his address. The person depicted in Image 4 is the same
person depicted in the other images in this affidavit.




        Image 4: Photo of HEFFELFINGER from the Ohio Bureau of Motor Vehicles.
       The FBI interviewed HEFFELFINGER on July 6, 2021, during which he stated that on
January 6, 2021, he entered the U.S. Capitol for approximately five to ten minutes.
            VIDEO FOOTAGE DEPICTING BENJAMIN HEFFELFINGER
     HEFFELFINGER attended the “Stop the Steal” rally at the Ellipse, near the Washington
Monument, on January 6, as captured in Image 5.




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                   Image 5: HEFFELFINGER at the "Stop the Steal" rally.
        From the rally, HEFFELFINGER walked to the Capitol grounds. Once there, he scaled the
wall of the Upper West Terrace Stairs, as captured in Image 6, to reach the Upper West Terrace.




                Image 6: HEFFELFINGER scaling a wall on Capitol grounds.



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        HEFFELFINGER entered the Capitol building through the Senate Wing Door at 3:12 p.m.,
as seen in Image 7.




            Image 7: HEFFELFINGER entering the Capitol building at 3:12 p.m.
       HEFFELFINGER entered the Crypt at approximately 3:14 p.m., where he recorded the
scene on his phone, as captured in Image 8.




                   Image 8: HEFFELFINGER inside the Crypt at 3:14 p.m.

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        HEFFELFINGER exited the Capitol building at 3:17 p.m. through the Senate Wing Door
at 3:17 p.m., as seen in Image 9. He was inside the building for approximately five minutes.




             Image 9: HEFFELFINGER exiting the Capitol building at 3:17 p.m.




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                     CHARGES SUPPORTED BY PROBABLE CAUSE

        Based on the foregoing, your affiant submits that there is probable cause to believe that
HEFFELFINGER violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.
        Your affiant submits there is also probable cause to believe that HEFFELFINGER violated
40 U.S.C. § 5104(e)(2), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                                      SPECIAL AGENT
                                                      FEDERAL BUREAU OF
                                                      INVESTIGATION

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 13th day of December 2023.
                                                                        Zia M.
                                                                        Faruqui
                                                      ___________________________________
                                                      HON. ZIA M. FARUQUI
                                                      U.S. MAGISTRATE JUDGE




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